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            1   JAMES R. HOMOLA #60244
                Attorney at Law
            2   2950 Mariposa, Suite 250
                Fresno, California 93721
            3   Telephone: (559) 441-7111

            4   Attorney for Defendant
                ALBERT MUHAMMAD
            5

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            7                IN THE UNITED STATES DISTRICT COURT FOR THE

            8                        EASTERN DISTRICT OF CALIFORNIA

            9

           10   UNITED STATES OF AMERICA           |
                                                   |
           11               Plaintiff,             |      Case No. 07-0254 LJO
                vs.                                |
           12                                      |      STIPULATION AND PROPOSED
                ALBERT MUHAMMAD                    |      ORDER TO CONTINUE
           13                                      |
                      Defendant.                   |
           14                                      |

           15         Defendant ALBERT MUHAMMAD by and through his attorney James

           16   R. Homola, and the united States of America, by and through its

           17   attorney, KIM SANCHEZ, Assistant U.S. Attorney, hereby stipulate

           18   to the following joint request:

           19         That the hearing scheduled for August 14, 2009 be continued

           20   to August 28, 2009 at 9:00 am.         The continuance is requested to

           21   permit the completion of the psychiatric report for which Mr.


James R. Homola
Attorney at Law
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Fresno, CA 93721
(559) 441-7111
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                MUHAMMAD was referred by a previous act of the Court, and for the

            1   review of same by the parties, upon the return of counsel for the

            2   government from a scheduled absence.

            3   DATED: August 13, 2009

            4            /s/ James R. Homola                 /S/ Kimberly A. Sanchez
                         JAMES R. HOMOLA                     KIMBERLY A. SANCHEZ
            5            Attorney for Defendant              Assistant U.S. Attorney
                         ALBERT MUHAMMAD
            6

            7

            8                                           ORDER

            9   IT IS SO ORDERED.            The intervening period of delay is excused in

           10   the interests of justice, pursuant to 18 USC §3161(h)(8)(B)(iv).

           11
                IT IS SO ORDERED.
           12
                Dated:     August 13, 2009                 /s/ Lawrence J. O'Neill
           13   b9ed48                                 UNITED STATES DISTRICT JUDGE

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James R. Homola
Attorney at Law
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  Suite 250
Fresno, CA 93721
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